Case 2:03-cr-20229-BBD Document 50 Filed 04/26/05 Page 1 of 2 Page|D 57

 

IN THE UNrrED sTArEs DISTRICT CoURr ' ' 6'-
FoR THE WESTERN DISTRICT oF 'rENNEssEE 95 (, .. r__
WESTERN DrvIsIoN 0 * f' 3 ‘
RGE:.l'-::" l`.* r'\: ¢,
1.;»/*¢3`l z ":'j i-_S'Mi#`* 419
UNlTED srArEs oF AMERICA, OF tN 'WLMPHIS
Plaimirf,
vs. Cr. No. 03 -20229-D
ALFRED JENKINS,
Defendant.

 

ORDER REVOKING SUPERVISED RELEASE

 

IT APPEARING TO THIS COURT, THAT, upon the filed petition of the U.S. Probation
Office, the guilty plea to count one of the violation, statements of the defendant, and upon the entire
record in this cause, that the Petition to Violate Defendant’s supervised release is Well-taken, and
should be granted. Further, the Defendant is to be sentenced to Tirne Served for this violation, and
that he shall be placed back on supervised release until the original expiration date. All of the
previous conditions of supervised release are to be imposed

IT IS SO ORDERED

a@;/M

:FNORABLE,B’ERNICE B. DoNALD

ATE; Wa?é; ,ZJ/J/

 

Uil ii m ve

_e 2593 j dwi-z 1./2“4"0-§

m v \_ nc‘,i,_»\- ="= ap<b\ FHG(P on ._.---*'_"""

10¥
W\:\'\,_` PU\@ §§ gallo

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:03-CR-20229 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

